                                                                            Case 20-11832-JNP           Doc 1         Filed 02/03/20 Entered 02/03/20 16:24:02               Desc Main
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                                                                                                               United States Bankruptcy Court
                                                                                                            District of New Jersey, Camden Division

                                                                   IN RE:                                                                                  Case No.
                                                                   Rodriguez, Stacy L.                                                                     Chapter 13
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: February 3, 2020                 Signature: /s/ Stacy L. Rodriguez
                                                                                                                        Stacy L. Rodriguez                                                     Debtor



                                                                   Date:                                  Signature:
                                                                                                                                                                                   Joint Debtor, if any
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     Morgan Proprties
     160 Clubhouse Rd
     King of Prussia, PA        19406-3300


     Online Collections
     PO Box 1489
     Winterville, NC 28590-1489


     Parkview at Collingswood
     700 W Browning Rd
     Collingswood, NJ 08107-1615


     Parkview at Collinswood, LLC
     700 W Browning Rd
     Collingswood, NJ 08107-1615


     Pseg Services Corportation
     80 Park Plz # T11
     Newark, NJ 07102-4109


     Rosemary Spohn, Esq
     2 South Ave W # W411
     Cranford, NJ 07016-2674
                                                                            Case 20-11832-JNP
                                                                   B201B (Form 201B) (12/09)
                                                                                                            Doc 1         Filed 02/03/20 Entered 02/03/20 16:24:02                       Desc Main
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                                                                                                                    United States Bankruptcy Court
                                                                                                                District of New Jersey, Camden Division

                                                                   IN RE:                                                                                            Case No.
                                                                   Rodriguez, Stacy L.                                                                               Chapter 13
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Rodriguez, Stacy L.                                                    X /s/ Stacy L. Rodriguez                                     2/03/2020
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, CAMDEN DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                               Chapter 13                                         Check if this is an
                                                                                                                                    amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Stacy
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          L.
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Rodriguez
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years        Stacy Rodriguez
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-3319
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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Debtor 1   Rodriguez, Stacy L.                                                                         Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 520 Collings Ave
                                 Apt B0823
                                 Collingswood, NJ 08107-1691
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Camden
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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Debtor 1    Rodriguez, Stacy L.                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12

                                   Chapter 13

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                  When                              Case number
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your               No.        Go to line 12.
    residence?
                                  Yes.        Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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Debtor 1    Rodriguez, Stacy L.                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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Debtor 1    Rodriguez, Stacy L.                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
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Debtor 1    Rodriguez, Stacy L.                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under
    Chapter 7?
                                   No.      I am not filing under Chapter 7. Go to line 18.


     Do you estimate that after     Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                  No
     are paid that funds will be
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to                                                     $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?                             $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Stacy L. Rodriguez
                                   Stacy L. Rodriguez                                                 Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      February 3, 2020                                  Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1   Rodriguez, Stacy L.                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Ronald Norman                                                     Date         February 3, 2020
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Ronald Norman
                                Printed name

                                Ronald E. Norman, Attorney
                                Firm name


                                901 Route 168 Ste 407A
                                Turnersville, NJ 08012-3210
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                   Email address         rnorman@rnormanlaw.com
                                RN5209
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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             Fill in this information to identify your case and this filing:

 Debtor 1                  Stacy L. Rodriguez
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:          DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number                                                                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                    $0.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                         Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.        Describe.....
                                        household Goods and furnishings and decor                                                                           $500.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.        Describe.....
Official Form 106A/B                                                      Schedule A/B: Property                                                                page 1
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              Case 20-11832-JNP                                   Doc 1            Filed 02/03/20 Entered 02/03/20 16:24:02                         Desc Main
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 Debtor 1          Rodriguez, Stacy L.                                                                                     Case number (if known)

                                            TV, Vacuum Cleaner, cell phones, ipad                                                                                 $250.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.       Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.       Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            clothing                                                                                                              $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                           $1,050.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                        Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              cash on hand                          $50.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:



Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 2
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 Debtor 1        Rodriguez, Stacy L.                                                                      Case number (if known)



                                     17.1.    Checking Account             Wells Fargo Bank                                                          $8.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                  Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                        % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                        Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                     Type of account:                      Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
   Yes. .....................                                    Institution name or individual:
                                     Security Deposit on                   Bank of America 10 Exchange Place,                                   $1,065.00
                                     Rental Unit                           JerseyCity, NJ 07302


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............         Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

Official Form 106A/B                                                 Schedule A/B: Property                                                           page 3
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 Debtor 1        Rodriguez, Stacy L.                                                                                        Case number (if known)

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                              Surrender or refund
                                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................           $1,123.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                        Schedule A/B: Property                                                                          page 4
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 Debtor 1         Rodriguez, Stacy L.                                                                                                   Case number (if known)


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                    $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                    $0.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $1,050.00
 58. Part 4: Total financial assets, line 36                                                                    $1,123.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $2,173.00             Copy personal property total          $2,173.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $2,173.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                         page 5
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                                                                  Document      Page 16 of 47
              Fill in this information to identify your case:

 Debtor 1                 Stacy L. Rodriguez
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      household Goods and furnishings                                                                                             11 USC § 522(d)(3)
      and decor
                                                                          $500.00                                    $500.00
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      TV, Vacuum Cleaner, cell phones,                                                                                            11 USC § 522(d)(3)
      ipad
                                                                          $250.00                                    $250.00
      Line from Schedule A/B: 7.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      clothing                                                                                                                    11 USC § 522(d)(3)
      Line from Schedule A/B: 11.1
                                                                          $300.00                                    $300.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      cash on hand                                                                                                                11 USC § 522(d)(5)
      Line from Schedule A/B: 16.1
                                                                           $50.00                                     $50.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Wells Fargo Bank                                                                                                            11 USC § 522(d)(5)
      Line from Schedule A/B: 17.1
                                                                            $8.00                                       $8.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
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            Case 20-11832-JNP                        Doc 1      Filed 02/03/20 Entered 02/03/20 16:24:02                               Desc Main
                                                               Document      Page 17 of 47
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Bank of America 10 Exchange Place,                                                                                     11 USC § 522(d)(1)
     JerseyCity, NJ 07302
                                                                   $1,065.00                                 $1,065.00
     Line from Schedule A/B: 22.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
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                                                                   Document      Page 18 of 47
              Fill in this information to identify your case:

 Debtor 1                   Stacy L. Rodriguez
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A                Column B                   Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As      Amount of claim         Value of collateral        Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                   Do not deduct the       that supports this         portion
                                                                                                               value of collateral.    claim                      If any
         Parkview at Collinswood,
 2.1                                              Describe the property that secures the claim:                     $2,367.25                        $0.00            $2,367.25
         LLC
         Creditor's Name
                                                  rental located at 520 Collings Ave.
                                                  Apt B0823, Collingswood, NJ 08107
         700 W Browning Rd                        As of the date you file, the claim is: Check all that
         Collingswood, NJ                         apply.
         08107-1615                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
 At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     Rental property arrears
       community debt

 Date debt was incurred                                    Last 4 digits of account number        0420


 Add the dollar value of your entries in Column A on this page. Write that number here:                                     $2,367.25
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                    $2,367.25

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Morgan Proprties
          160 Clubhouse Rd                                                                         Last 4 digits of account number    0420
          King of Prussia, PA 19406-3300




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                              page 1 of 2
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 Debtor 1 Stacy L. Rodriguez                                                             Case number (if known)
             First Name                Middle Name              Last Name



        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.1
        Rosemary Spohn, Esq
        2 South Ave W # W411                                                      Last 4 digits of account number   0420
        Cranford, NJ 07016-2674




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 2
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                                                                   Document      Page 20 of 47
      Fill in this information to identify your case:

 Debtor 1                  Stacy L. Rodriguez
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          Pseg Services Corportation                             Last 4 digits of account number             1405                                                     $876.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?                 2017-10
              80 Park Plz # T11
              Newark, NJ 07102-4109
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Open account

 Part 3:        List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Online Collections                                            Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 1489                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Winterville, NC 28590-1489
                                                               Last 4 digits of account number                       1405
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 2
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 Debtor 1 Rodriguez, Stacy L.                                                                           Case number (if known)



 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.     $                        0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.     $                        0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.     $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.     $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.     $                        0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.     $                        0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.     $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.     $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                               $                      876.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.     $                      876.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 2
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                                                                    Document      Page 22 of 47
              Fill in this information to identify your case:

 Debtor 1                 Stacy L. Rodriguez
                          First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Parkview at Collingswood                                                  rental property located at 520 Collings Ave, Apt B0823,
              700 W Browning Rd                                                         Collingswood, NJ 08107-1615
              Collingswood, NJ 08107-1615




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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               Case 20-11832-JNP                         Doc 1          Filed 02/03/20 Entered 02/03/20 16:24:02                  Desc Main
                                                                       Document      Page 23 of 47
              Fill in this information to identify your case:

 Debtor 1                   Stacy L. Rodriguez
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Stacy L. Rodriguez

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY, CAMDEN DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                                Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $               0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $        0.00




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
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Debtor 1    Rodriguez, Stacy L.                                                                     Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
      5e.    Insurance                                                                       5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
      5g.    Union dues                                                                      5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $          0.00         $           0.00
      8d. Unemployment compensation                                                          8d.        $          0.00         $           0.00
      8e.    Social Security                                                                 8e.        $        746.00         $         814.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:     food stamps                                                        8f.  $              262.00   $                     0.00
      8g. Pension or retirement income                                                       8g. $                 0.00   $                     0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                0.00 + $                     0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          1,008.00         $           814.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            1,008.00 + $            814.00 = $         1,822.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          1,822.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1              Stacy L. Rodriguez                                                                     Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY, CAMDEN                                             MM / DD / YYYY
                                          DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                            son                                  18               Yes
                                                                                                                                        No
                                                                                   Daughter                             13               Yes
                                                                                                                                        No
                                                                                   son                                  12               Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           1,116.50

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Rodriguez, Stacy L.                                                                       Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                 6a.   $                                 0.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                 6c.   $                               100.00
      6d. Other. Specify: pet (cat)                                                                          6d.   $                                50.00
             cigarettes                                                                                            $                               100.00
7.    Food and housekeeping supplies                                                            7.                 $                               125.00
8.    Childcare and children’  s education costs                                                8.                 $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                       9.                 $                                 0.00
10.   Personal care products and services                                                      10.                 $                                41.00
11.   Medical and dental expenses                                                              11.                 $                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                 20.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                  0.00
14.   Charitable contributions and religious donations                                         14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                  0.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’   s, or renter’
                                              s insurance                                     20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’    s association or condominium dues                                    20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                      1,552.50
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                      1,552.50
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               1,822.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              1,552.50

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 269.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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      Fill in this information to identify your case:

Debtor 1                    Stacy L. Rodriguez
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY, CAMDEN DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Stacy L. Rodriguez                                            X
             Stacy L. Rodriguez                                                Signature of Debtor 2
             Signature of Debtor 1

             Date       February 3, 2020                                       Date
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              Fill in this information to identify your case:

 Debtor 1                   Stacy L. Rodriguez
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                2,173.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $                2,173.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $                2,367.25

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $                   876.00


                                                                                                                                     Your total liabilities $                      3,243.25


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                1,822.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                1,552.50

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1     Rodriguez, Stacy L.                                                            Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $          1,560.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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            Fill in this information to identify your case:

 Debtor 1                 Stacy L. Rodriguez
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, CAMDEN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there
        8 N Davis Ave                                           From-To:                   Same as Debtor 1                                      Same as Debtor 1
        Audubon, NJ 08106-1017                                  07/30/1982 to                                                                    From-To:
                                                                08/2019


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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 Debtor 1     Rodriguez, Stacy L.                                                                         Case number (if known)



5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)
 For last calendar year:                          social security                               $8,814.00
 (January 1 to December 31, 2019 )

 For the calendar year before that:               social security                                    $0.00
 (January 1 to December 31, 2018 )

 For the calendar year:                           social security                               $8,814.00
 (January 1 to December 31, 2017 )


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an




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      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number
       Parkviw at Collingswood LLC vs                         Landlod Tenant               Superior Court of New                     Pending
       Stacy Rodriguez and Tarek Lackey                                                    Jersey Special civ                          On appeal
       LT- 204-20                                                                          101 S 5th St
                                                                                                                                       Concluded
                                                                                           Camden, NJ 08103-4001


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per               Describe the gifts                                       Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:




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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                         Dates you                     Value
       more than $600                                                                                                       contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                    Date of your       Value of property
       how the loss occurred                                                                                                loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or          Amount of
       Address                                                        transferred                                           transfer was              payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       Ronald E. Norman, Attorney                                     700 plus costs                                        2/3/20                     $700.00
       901 Route 168 Ste 407A
       Turnersville, NJ 08012-3210


       Credit Card Management Services                                debt counseling                                       01/31/2020                  $24.00
       1325 N Congress Ave # 201
       West Palm Beach, FL 33401-2005


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or          Amount of
       Address                                                        transferred                                           transfer was              payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                Describe any property or        Date transfer was
       Address                                                        property transferred                    payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a

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      beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                        Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                       have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
        Name of site                                               Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
        Name of site                                               Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                 Court or agency                            Nature of the case                    Status of the
        Case Number                                                Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                        Describe the nature of the business                   Employer Identification number
        Address                                                                                                    Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                   Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                 Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Stacy L. Rodriguez
 Stacy L. Rodriguez                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      February 3, 2020                                            Date

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Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Stacy L. Rodriguez                                                                       According to the calculations required by this
                                                                                                                Statement:
 Debtor 2
 (Spouse, if filing)
                                                                                                                     1. Disposable income is not determined under
                                                                                                                         11 U.S.C. § 1325(b)(3).
                                                  District of New Jersey, Camden                                     2. Disposable income is determined under 11
 United States Bankruptcy Court for the:          Division                                                               U.S.C. § 1325(b)(3).
 Case number
 (if known)                                                                                                          3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.
                                                                                                                  Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
        Not married. Fill out Column A, lines 2-11.
         Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                               $              0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                             $              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Do not include payments from a spouse. Do not include payments you
     listed on line 3.                                                                                  $              0.00      $
  5. Net income from operating a business,
     profession, or farm                                            Debtor 1
        Gross receipts (before all deductions)                          $      0.00
        Ordinary and necessary operating expenses                      -$      0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $
  6. Net income from rental and other real property                 Debtor 1
        Gross receipts (before all deductions)                        $      0.00
        Ordinary and necessary operating expenses                      -$      0.00
        Net monthly income from rental or other real property         $        0.00 Copy here -> $                     0.00      $




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                                                                                                      Column A                      Column B
                                                                                                      Debtor 1                      Debtor 2 or
                                                                                                                                    non-filing spouse
                                                                                                      $                 0.00        $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                        $                 0.00        $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                               $                   0.00
            For your spouse                                       $
  9. Pension or retirement income. Do not include any amount received that was a benefit
     under the Social Security Act. Also, except as stated in the next sentence, do not
     include any compensation, pension, pay, annuity, or allowance paid by the United States
     Government in connection with a disability, combat-related injury or disability, or death of
     a member of the uniformed services. If you received any retired pay paid under chapter
     61 of title 10, then include that pay only to the extent that it does not exceed the amount
     of retired pay to which you would otherwise be entitled if retired under any provision of
     title 10 other than chapter 61 of that title.                                                $                     0.00        $
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act; payments received as a
      victim of a war crime, a crime against humanity, or international or domestic terrorism; or
      compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If necessary, list other sources on a separate page
      and put the total below.
                  Social Security                                                                     $              746.00         $
                  Social Security of BF                                                               $              814.00         $
                  Total amounts from separate pages, if any.                                     +    $                 0.00        $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.              $         1,560.00           +   $                  =    $      1,560.00

                                                                                                                                                        Total average
                                                                                                                                                        monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                      $          1,560.00
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents,
              such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional adjustments on
              a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                             $
                                                                                             $
                                                                                          +$

                      Total                                                                $                     0.00           Copy here=>         -              0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                               $          1,560.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                $          1,560.00




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                Multiply line 15a by 12 (the number of months in a year).                                                                         x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................    $     18,720.00




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  16. Calculate the median family income that applies to you. Follow these steps:

       16a. Fill in the state in which you live.                           NJ

       16b. Fill in the number of people in your household.                 2
       16c. Fill in the median family income for your state and size of household.                                                        $       82,249.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1,
                                                                                                               Disposable income is not determined under 11
                      U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2,
                                                                                                   Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                            $                1,560.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
     income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                           -$                     0.00


       19b. Subtract line 19a from line 18.                                                                                               $        1,560.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                 $        1,560.00

              Multiply by 12 (the number of months in a year).                                                                                  x 12

       20b. The result is your current monthly income for the year for this part of the form                                              $       18,720.00




       20c. Copy the median family income for your state and size of household from line 16c                                              $       82,249.00


       21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period
                   is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Stacy L. Rodriguez
        Stacy L. Rodriguez
        Signature of Debtor 1
       Date February 3, 2020
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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      UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY, CAMDEN DIVISION
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Ronald Norman

 901 Route 168 Ste 407A
 Turnersville, NJ 08012-3210

 rnorman@rnormanlaw.com

 In Re:
             Rodriguez, Stacy L.                                                      Case No.:

                                                                                      Chapter:               13

                                                                                      Judge:



         DISCLOSURE OF CHAPTER 13 DEBTOR ’
                                         S ATTORNEY COMPENSATION
1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for
the debtor(s) and that compensation was paid to me within one year before the filed date of the petition, or
agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in connection
with this bankruptcy case is as follows:

            Under D.N.J. LBR 2016-5(b), I have agreed to accept for all legal services required to confirm a plan, subject to
            the exclusions listed below, including administrative services that may occur postconfirmation, a flat fee in the
            amount of $ 4,750.00 . I understand that I must demonstrate that additional services were unforeseeable at the
            time of the filing of this disclosure if I seek additional compensation and reimbursement of necessary expenses.

            Legal services on behalf of the debtor in connection with the following are not included in the flat fee:

            Representation of the debtor in:
                   · adversary proceedings,
                   · loss mitigation/loan modification efforts,
                   · post-confirmation filings and matters brought before the Court.

            I have received:                                                           $   700.00

            The balance due is:                                                        $   4,050.00

            The balance will  will not be paid through the plan.

             Under D.N.J. LBR 2016-5(c), I have agreed to accept for legal services provided on behalf of the debtor in this
            case, an hourly fee of $    . The hourly fee charged by other members of my firm that may provide services to
            this client range from $     to $      . I understand that I must receive the Court’
                                                                                               s approval of any fees or
            expenses to be paid to me in this case post petition pursuant to D.N.J. LBR 2016-1.

            I have received:                                                           $

2.          The source of the funds paid to me was:

            Debtor(s)                                       Other (specify below)


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3.          If a balance is due, the source of future compensation to be paid to me is:

            Debtor(s)                                       Other (specify below)


4.       I  have or have not agreed to share compensation with another person(s) unless they are members of my law
firm. If I have agreed to share compensation with a person(s) who is not a member of my law firm, a copy of that agreement
and a list of the people sharing in the compensation is attached.



 Date: February 3, 2020                                             /s/ Ronald Norman
                                                                    Ronald Norman
                                                                    Debtor's Attorney




                                                                                                                       new.8/1/18


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